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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 11-434
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ISMAIL SALI,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Device Making Equipment

15 Date of Detention Hearing:     September 19, 2011.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is charged by Complaint, together with a co-defendant, with



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01 possessing a pin-hole camera and card skimming device designed to be affixed to an ATM

02 machine. The Complaint alleges a criminal operation of long-standing duration involving

03 hundreds of victims and hundreds of thousands of dollars, most of which is said to be

04 unaccounted for.

05         2.      The defendant, a naturalized United States citizen, has strong family ties to

06 Romania, including a wife, two children, and 10 siblings. There is some discrepancy in the

07 information provided concerning his employment, background and finances. The defendant

08 indicated to Pretrial Services that he had no weapons in the home, although three loaded

09 firearms were seized from a shed.

10         3.      The defendant is associated with at least two aliases and identification

11 documents were seized from the defendant’s residence with his photograph in another name.

12 The AUSA proffered evidence that defendant may have ties to other known skimmers and

13 contends that his residence appears to be the nerve center of these operations. Furthermore,

14 the AUSA contends that the alleged scheme has international aspects in that some of the cards

15 seized during the search are coded with foreign bank data from Germany and Sweden, implying

16 that there are foreign co-conspirators.

17         4.      Defendant poses a risk of nonappearance due to strong family ties to Romania,

18 contradictory background information, and the nature of the instant offense involving access to

19 false identification documents and significant financial resources to assist flight.        The

20 defendant poses a risk of danger due to the length and scope of the alleged scheme, and

21 defendant’s alleged role.

22         5.      There does not appear to be any condition or combination of conditions that will



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01 reasonably assure the defendant’s appearance at future Court hearings while addressing the

02 danger to other persons or the community.

03 It is therefore ORDERED:

04     1. Defendant shall be detained pending trial and committed to the custody of the Attorney

05         General for confinement in a correction facility separate, to the extent practicable, from

06         persons awaiting or serving sentences or being held in custody pending appeal;

07     2. Defendant shall be afforded reasonable opportunity for private consultation with

08         counsel;

09     3. On order of the United States or on request of an attorney for the Government, the

10         person in charge of the corrections facility in which defendant is confined shall deliver

11         the defendant to a United States Marshal for the purpose of an appearance in connection

12         with a court proceeding; and

13     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

14         for the defendant, to the United States Marshal, and to the United State Pretrial Services

15         Officer.

16         DATED this 19th day of September, 2011.

17

18                                                       A
                                                         Mary Alice Theiler
19                                                       United States Magistrate Judge

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